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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                Case No.: 6:15-cv-01517-AA
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,
             Plaintiffs,                     PLAINTIFFS’ WITNESS LIST

v.
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
             Defendants.




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          Pursuant to the Court’s Order in this matter, Youth Plaintiffs hereby submit the following

Witness List. Youth Plaintiffs reserve the right to call any witnesses identified on Defendants’

witness list. The Youth Plaintiffs hereby submit the following list of individuals who will or may

be called to testify at the bench trial in the above-captioned case set to begin October 29, 2018.

     I.   FACT WITNESSES

          The names and addresses of witnesses, other than experts, to be called at trial and the

general nature of the testimony of each are:

1.        Jessica Wentz, Senior Fellow and Associate Researcher, Sabin Center for Climate

          Change Law, Columbia Law School, WILL TESTIFY regarding actions of the

          Defendants taken during the Trump Administration to perpetuate a fossil fuel-based

          energy system. 435 West 116th Street, New York, New York 10027.

          Estimated time for direct examination: 5 hours.

2.        Aji P. is a Plaintiff in this action. He WILL TESTIFY about how he has been injured

          due to the Defendants’ conduct in causing and contributing to climate change. c/o

          Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

          Estimated time for direct examination: 2 hours.

3.        Alexander L. is a Plaintiff in this action. He WILL TESTIFY about how he has been

          injured due to the Defendants’ conduct in causing and contributing to climate change.

          c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

          Estimated time for direct examination: 2 hours.

4.        Avery M. is a Plaintiff in this action. She WILL TESTIFY about how she has been

          injured due to the Defendants’ conduct in causing and contributing to climate change.

          c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.




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      Estimated time for direct examination: 2 hours.

5.    Hazel V. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

6.    Isaac V. is a Plaintiff in this action. He WILL TESTIFY about how he has been injured

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

7.    Jacob L. is a Plaintiff in this action. He WILL TESTIFY about how he has been injured

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

8.    Jayden F. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

9.    Journey Z. is a Plaintiff in this action. He WILL TESTIFY about how he has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

10.   Kelsey Cascadia Rose Juliana is a Plaintiff in this action. She WILL TESTIFY about

      how she has been injured due to the Defendants’ conduct in causing and contributing to




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      climate change. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA

      94062.

      Estimated time for direct examination: 2 hours.

11.   Kiran O. is a Plaintiff in this action. He WILL TESTIFY about how he has been injured

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

12.   Levi D. is a Plaintiff in this action. He WILL TESTIFY about how he has been injured

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

13.   Miko V. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

14.   Nathaniel B. is a Plaintiff in this action. He WILL TESTIFY about how he has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

15.   Nicholas V. is a Plaintiff in this action. He WILL TESTIFY about how he has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.




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16.   Sahara V. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

17.   Sophie K. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

18.   Tia H. is a Plaintiff in this action. She WILL TESTIFY about how she has been injured

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

19.   Victoria B. is a Plaintiff in this action. She WILL TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

20.   Xiuhtezcatl Tonatiuh M. is a Plaintiff in this action. He WILL TESTIFY about how he

      has been injured due to the Defendants’ conduct in causing and contributing to climate

      change. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

21.   Zealand B. is a Plaintiff in this action. He WILL TESTIFY about how he has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.




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      Estimated time for direct examination: 2 hours.

22.   Jaime B. is a Plaintiff in this action. She MAY TESTIFY about how she has been

      injured due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

23.   Jamescita Peshlakai MAY TESTIFY about how her daughter, Plaintiff Jaime B., has

      been harmed due to the Defendants’ conduct in causing and contributing to climate

      change. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

24.   Mae Peshlakai MAY TESTIFY about how her granddaughter, Plaintiff Jaime B., has

      been harmed due to the Defendants’ conduct in causing and contributing to climate

      change and how Defendants’ conduct has harmed Jaime’s family, cultural, and spiritual

      traditions as a member of the Navajo Nation. c/o Gregory Law Group, 1250 Godetia

      Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

25.   Sharon Baring MAY TESTIFY about how her son, Plaintiff Nathan B., has been

      harmed due to the Defendants’ conduct in causing and contributing to climate change.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours.

26.   Marie Venner MAY TESTIFY about how her son, Plaintiff Nick V. has been harmed

      due to the Defendants’ conduct in causing and contributing to climate change. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 2 hours




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27.   Rafe Pomerance MAY TESTIFY about his experiences and observations working at

      World Resources Institute and the United States Department of State related to climate

      change outreach and oversight; c/o Gregory Law Group, 1250 Godetia Drive, Redwood

      City, CA 94062.

      Estimated time for direct examination: 4 hours.

28.   Stephen Seidel MAY TESTIFY about his experiences and observations working at the

      Environmental Protection Agency, Council on Environmental Quality, and White House

      Climate Change Task Force related to climate change activities; c/o Gregory Law

      Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours.

29.   Susan Ying MAY TESTIFY about her experiences and observations working in the

      aerospace and aeronautical industries related to renewable energy transportation; c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours

30.   Howard C. Sun or other representative from Council on Environmental Quality MAY

      TESTIFY for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

31.   Representative from Office of Management and Budget MAY TESTIFY for purposes of

      authentication and admissibility of government documents; Headquarters, Washington,

      D.C.; Estimated time for direct examination: 1 hour

32.   Michael Kuperberg, Ph.D. or other representative from Office of Science and

      Technology Policy MAY TESTIFY for purposes of authentication and admissibility of

      government documents; Headquarters, Washington, D.C.; Estimated time for direct




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      examination: 1 hour

33.   Eric Boyle or other representative from Department of Energy MAY TESTIFY for

      purposes of authentication and admissibility of government documents; Headquarters,

      Washington, D.C.; Estimated time for direct examination: 1 hour

34.   Benjamin Simon or other representative from Department of Interior MAY TESTIFY

      for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

35.   Darren Timothy or other representative from Department of Transportation MAY

      TESTIFY for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

36.   William Hohenstein or other representative from Department of Agriculture MAY

      TESTIFY for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

37.   William Sweet, Ph.D., or other representative from Department of Commerce MAY

      TESTIFY for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

38.   Rebecca Patton or other representative from Department of Defense MAY TESTIFY

      for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

39.   Marissa McInnis or other representative from Department of Defense MAY TESTIFY

      for purposes of authentication and admissibility of government documents;

      Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

40.   Rebecca Patton or other representative from Department of Defense MAY TESTIFY




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         for purposes of authentication and admissibility of government documents;

         Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

41.      Kathleen White or other representative from Department of Defense MAY TESTIFY

         for purposes of authentication and admissibility of government documents;

         Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

42.      Jerry Drake or other representative from Department of State MAY TESTIFY for

         purposes of authentication and admissibility of government documents; Headquarters,

         Washington, D.C.; Estimated time for direct examination: 1 hour

43.      Daniel Conrad or other representative from Environmental Protection Agency MAY

         TESTIFY for purposes of authentication and admissibility of government documents;

         Headquarters, Washington, D.C.; Estimated time for direct examination: 1 hour

44.      Cheryl MacKay MAY TESTIFY purposes of authentication and admissibility of

         government documents; Headquarters, Washington, D.C.; Estimated time for direct

         examination: 1 hour

45.      Any witness called by Defendants.

46.      Any necessary rebuttal witnesses.



      II. EXPERT WITNESSES

        The names and addresses of the expert witnesses to be used by the Youth Plaintiffs at the

trial, the issue upon which each will testify, and the estimated time for direct examination are:

1.      Dr. James Hansen WILL TESTIFY regarding expert testimony related to how climate

        change works, the energy imbalance created by human-caused greenhouse gas emissions,

        related temperature trends, sea level rise, climate tipping points, the urgency of returning




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     the planet to the Holocene temperature range, and the emission reduction and carbon

     sequestration prescription for stabilizing the climate system and restoring Earth’s energy

     balance. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

2.   Dr. Eric Rignot WILL TESTIFY regarding expert testimony related to the retreat of the

     grounding line of West Antarctica ice sheets, potential melting scenarios, the melting and

     ice disintegration trends for East Antarctica and Greenland, current and projected ice

     sheet loss, ocean warming patterns and global sea level rise. c/o Gregory Law Group,

     1250 Godetia Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

3.   Dr. Kevin Trenberth WILL TESTIFY regarding expert testimony related to the impact

     of fossil fuel emissions and climate change on the environment, the water cycle and

     precipitation, including drought and wildfires, the increasing severity and frequency of

     storms, significant rain events, and flooding. c/o Gregory Law Group, 1250 Godetia

     Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

4.   Dr. Steven Running WILL TESTIFY regarding expert testimony related to the impacts

     of climate change on terrestrial ecosystems in the United States, including impacts on

     species, biodiversity, ecosystem shifts and collapse, and the effects of terrestrial climate

     change impacts on humans, including the Plaintiffs. c/o Gregory Law Group, 1250

     Godetia Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

5.   Dr. Ove Hoegh-Guldberg WILL TESTIFY regarding expert testimony related to the




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     impacts of fossil fuel emissions, atmospheric CO2 levels and global warming on ocean

     acidification, ocean warming, coral reefs and other marine life, the corollary maximum

     concentration threshold of CO2, the current state and trends of ocean acidification and

     ocean warming, and the ecosystem, food chain, and human impacts of present and

     ongoing harm to oceans from climate change and ocean acidification. c/o Gregory Law

     Group, 1250 Godetia Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

6.   Dr. Lise Van Susteren WILL TESTIFY regarding expert testimony related to the

     psychological, mental, emotional and physical impacts of climate change on young

     people, including Plaintiffs. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City,

     CA 94062.

     Estimated time for direct examination: 5 hours.

7.   Peter Erickson WILL TESTIFY regarding expert testimony related to the value of

     consumption-based and other greenhouse gas emissions inventories and how such

     inventories are prepared. Mr. Erickson will also testify regarding the influence of

     government subsidies and incentives on the production of fossil fuels and associated

     CO2 emissions. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

     Estimated time for direct examination: 5 hours.

8.   Dr. Mark Jacobson WILL TESTIFY regarding expert testimony related to the

     feasibility of transitioning the United States from fossil fuel-based energy systems for all

     sectors to 100% clean, renewable energy in all energy sectors, and the time-frame it

     would take to do so. Dr. Jacobson will also testify regarding the economic feasibility of

     transitioning energy systems off of fossil fuels and the comparative impacts of fossil fuels




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      compared to clean, renewable energy on energy security, jobs, and land use. c/o Gregory

      Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 5 hours.

9.    Dr. Frank Ackerman WILL TESTIFY regarding expert testimony related to the

      economic costs to society and future generations of climate change and a fossil fuel-

      based energy system. Dr. Ackerman will also testify to the lack of consideration of the

      risks of catastrophic climate change impacts in federal decision-making regarding climate

      and energy policy, the Federal Government’s use of high discounting rates, and the

      undervaluing of the social cost of carbon. Dr. Ackerman will also testify to the economic

      impacts of delaying in mitigating climate change. c/o Gregory Law Group, 1250 Godetia

      Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 5 hours.

10.   Andrea Wulf WILL TESTIFY regarding expert testimony related to the historical

      evidence that a balanced order of nature and humanity’s connection with nature,

      including the climate system, is deeply embedded in the history and tradition of the

      United States. Ms. Wulf will also testify as to the attitudes of the founding fathers and

      other leading thinkers of the early republic of the United States towards nature, and the

      interconnection between these attitudes and the philosophical and ideological

      underpinnings of the United States’ political and legal system, as well as to the influence

      of the German explorer and scientist Alexander von Humboldt (1769-1859) on various

      early American thinkers, writers and environmentalists, including the founding fathers.

      c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours.




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11.   Professor Catherine Smith WILL TESTIFY regarding expert testimony related to the

      historical and sociological legal basis for reviewing government actions that discriminate

      against and harm children under heightened judicial scrutiny. Professor Smith will also

      testify as to how children are situated differently from other classes of people, and

      receive and have historically received differential treatment in the American legal system

      and under international law, and thus merit the status of a protected class for the purpose

      of the Equal Protection Clause. Professor Smith will also testify regarding the historical

      and sociological legal basis for granting children in America extraordinary legal

      protection from government action and government action causing climate change-

      related harms. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours.

12.   Dr. G. Philip Robertson WILL TESTIFY regarding expert testimony related to the

      potential capacity for improved management of United States forest, range and

      agricultural lands to achieve net negative carbon emissions (i.e., sequester atmospheric

      carbon) and avoid future greenhouse gas emissions, and the quantum of this potential for

      carbon sequestration and greenhouse gas mitigation. Dr. Roberston will also testify

      regarding the global carbon cycle generally, and how land management practices can

      contribute to negative and avoided greenhouse gas emissions. c/o Gregory Law Group,

      1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours.

13.   James Gustave Speth WILL TESTIFY regarding expert testimony related to the

      historical knowledge of the United States government, including Defendants, of climate

      change, climate science, obligations to present and future generations to mitigate climate




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      change and prevent climate change harms, and alternative pathways to power the United

      States’ energy system other than through the use of fossil fuels. Mr. Speth will also

      testify regarding the actions, policies and decisions of the United States government,

      including Defendants, in the areas of climate change and energy, and particularly the

      promotion, maintenance and further entrenching of a fossil-fuel based energy system. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 6 hours.

14.   Dr. Harold R. Wanless WILL TESTIFY regarding expert testimony related to climate

      change- and greenhouse gas emission-induced sea level rise; the relationship between

      CO2 concentrations and fluctuations in sea level rise in the paleoclimate record; and the

      relationship between anthropogenic climate change, ocean warming, polar ice melt, and

      accelerating observed and projected sea-level rise. Dr. Wanless will also testify as to the

      harms associated with sea level rise that Plaintiffs face and the urgency of stopping

      additional greenhouse gas emissions in order to prevent and/or mitigate these harms. c/o

      Gregory Law Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 5 hours.

15.   Dr. Howard Frumkin WILL TESTIFY regarding expert testimony related to the health

      impacts of climate change, and particularly those health impacts affecting children, as

      well as projected climate change-related health impacts on that will affect present

      generations of children as they reach adulthood. c/o Gregory Law Group, 1250 Godetia

      Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 4 hours.

16.   Dr. James H. Williams WILL TESTIFY regarding expert testimony related to the




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      technological pathways, feasibility and costs of achieving deep decarbonization of the

      United States energy system commensurate with stabilizing the climate system at non-

      dangerous levels; the policies that could be used to achieve this outcome; the capacity of

      the United States government, including Defendants, to achieve such a decarbonization

      of the United States energy system; and the implications of such a decarbonization of the

      United States energy system on quality of life and standards of living. c/o Gregory Law

      Group, 1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 5 hours.

17.   Dr. Joseph E. Stiglitz WILL TESTIFY regarding expert testimony related to the

      economic dimensions of the climate change-related risks, costs and harms to Plaintiffs

      and other children that are occurring and will continue to occur if defendants continue to

      pursue policies perpetuating a fossil fuel-based energy system and defer action to

      mitigate climate change. Dr. Stiglitz will also testify regarding the economics, including

      the feasibility and benefits, of transitioning to a non-fossil fuel economy now rather than

      later, and the economic tools available to achieve this transition. c/o Gregory Law Group,

      1250 Godetia Drive, Redwood City, CA 94062.

      Estimated time for direct examination: 5 hours.

18.   Dr. Susan E. Pacheco WILL TESTIFY regarding expert testimony related to the public

      health impacts on children from climate change and air pollution from fossil fuels. Dr.

      Pacheco will also testify regarding the unique vulnerability of children to the impacts of

      climate change and air pollution from fossil fuels, and the particular vulnerability of

      certain populations of children, including several Plaintiffs. c/o Gregory Law Group,

      1250 Godetia Drive, Redwood City, CA 94062.




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      Estimated time for direct examination: 5 hours.

19.   Dr. Karrie P. Walters WILL TESTIFY regarding expert testimony related to the expert

      reports of Dr. Jeffrey Sugar and Dr. Lise Van Susteren; psychological harms from

      climate change; and the psychological coping strategies and options of Plaintiffs in the

      face of anthropogenic climate change. Dr. Walters will also testify as to the distinction

      between, on the one hand, mental health disorders and diagnoses, and, on the other hand,

      the identification of mental health harm. c/o Gregory Law Group, 1250 Godetia Drive,

      Redwood City, CA 94062.

      Estimated time for direct examination: 3 hours.

20.   Dr. Akilah Jefferson WILL TESTIFY regarding expert testimony related to the expert

      reports of Dr. Normal Klein, Dr. Arthur Partikian, Dr. Howard Frumkin, Dr. Susan

      Pacheco and Dr. Jerome Paulson; the connection between climate change, and asthma

      and allergies; the way in which Plaintiffs are being specifically harmed by climate

      change-connected asthma and allergies; and the empirical and clinical evidence that

      climate change is a significant factor in exacerbating the risk, longevity, and severity of

      asthma and allergies. c/o Gregory Law Group, 1250 Godetia Drive, Redwood City, CA

      94062.

      Estimated time for direct examination: 3 hours.

21.   Dr. Jerry Paulson MAY TESTIFY regarding expert testimony related to the public

      health impacts on children from climate change and air pollution from fossil fuels. Dr.

      Paulson will also testify regarding the unique vulnerability of children to the impacts of

      climate change and air pollution from fossil fuels, and the particular vulnerability of

      certain populations of children, including several Plaintiffs. c/o Gregory Law Group,




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       1250 Godetia Drive, Redwood City, CA 94062.

       Estimated time for direct examination: 5 hours.



DATED this 15th day of October, 2018.

Respectfully submitted,

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